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                        EXHIBIT D
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                                          MASTER LIST OF POTENTIAL DEPONENTS*
No.           Name                                   Employer                        Title/Position                        Location                No. of       Party Requesting
                                                                                                                                                   Days
                                                           PSC, USA, AND STATES - PRIORITY REQUESTS
1.            Unknown                                Anadarko             Corporate Representative                                                              PSC
              30(b)(6)                                                                                                                                          USA
                                                                                                                                                                Alabama
                                                                                                                                                                APC & MOEX
2.            Wright, John                           Boots & Coots                   Well Control Simulation                                                    PSC
                                                                                                                                                                USA
                                                                                                                                                                Alabama
                                                                                                                                                                APC & MOEX
3.            Abbassion, Fereidain                   BP                              Vice President of Drilling            Houston                              PSC
                                                                                     and Completions                                                            USA
                                                                                     Technology                                                                 Alabama
                                                                                                                                                                APC & MOEX
                                                                                                                                                                Cameron
4.            Bellow, Jonathan                       BP                              Operations Coordinator                                                     PSC
                                                                                                                                                                USA
                                                                                                                                                                Alabama
                                                                                                                                                                APC & MOEX
5.            Bodek, Robert                          BP                              Geologic Ops                                                               PSC
                                                                                                                                                                USA
                                                                                                                                                                Alabama
                                                                                                                                                                APC & MOEX
6.            Castell, Sir William                   BP plc                          Board Member, SEEAC                                                        Louisiana1
                                                                                     Committee



1
  The State of Louisiana has designated their requested deponents in order of priority. See State of Louisiana Witness List (in order of priority) as of 2/14/11, attached hereto as
Exhibit A.
* The Parties agree that this list is a preliminary and non-binding list of potential witnesses to be deposed in anticipation of the February 2012 limitation action and liability trial.
Based on their inclusion in this list, the enumerated witnesses may be noticed for their deposition by any Party. No person or entity named on the list is admitting or consenting
to jurisdiction or to appear for deposition without proper service.

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                                          MASTER LIST OF PRIORITY DEPONENTS
No.          Name                           Employer          Title/Position              Location   No. of   Party Requesting
                                                                                                     Days
7.           Cocales, Brett                 BP                Drilling Engineer           Houston             PSC
                                                                                                              USA
                                                                                                              Alabama
                                                                                                              Louisiana
                                                                                                              Halliburton
                                                                                                              APC & MOEX
                                                                                                              Transocean2
8.           Cramond, Neil                  BP                Marine Authority for Gulf   Houston             PSC
                                                              of Mexico Operations                            USA
                                                                                                              Alabama
                                                                                                              APC & MOEX
                                                                                                              Transocean3
9.           Cunningham, Erick              BP E&P            BP Cementing Specialist                         Louisiana
                                                                                                              Halliburton
                                                                                                              APC & MOEX
                                                                                                              Transocean4
10.          Defranco, Samuel               BP                SETA – Process Safety                           Louisiana
                                                              Engineer on BP accident                         APC & MOEX
                                                              investigation
11.          Dupree, James                  BP                Senior Vice President,      Houston             PSC
                                                              GOM                                             USA
                                                                                                              Alabama
                                                                                                              APC & MOEX
12.          Flynn, Steve                   BP                Vice President of Health,   UK                  PSC
                                                              Safety, Security and                            USA
                                                              Environment                                     Alabama
                                                                                                              APC & MOEX
2
  Listed on Transocean’s “Event Track.”
3
  Listed on Transocean’s “Event Track.”
4
  Listed on Transocean’s “Event Track.”
MASTER LIST OF PRIORITY DEPONENTS                             PAGE 2 of 22                                         2/17/2011

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                                        MASTER LIST OF PRIORITY DEPONENTS
No.         Name                                 Employer    Title/Position             Location      No. of   Party Requesting
                                                                                                      Days
13.         Grounds, Cheryl                      BP          Lead Process Safety                               Louisiana
                                                             Engineer on BP accident
                                                             investigation
14.         Guide, John Alexander                BP          Wells Team Leader          Houston                PSC
                                                                                                               USA
                                                                                                               Alabama
                                                                                                               Louisiana
                                                                                                               Halliburton
                                                                                                               APC & MOEX
                                                                                                               Transocean5
15.         Hafle, Mark                          BP          Senior Drilling Engineer   Houston                PSC
                                                                                                               USA
                                                                                                               Alabama
                                                                                                               Louisiana
                                                                                                               Halliburton
                                                                                                               APC & MOEX
                                                                                                               Transocean6
16.         Hayward, Tony                        BP          Former CEO                 Russia / UK            PSC
                                                                                                               USA
                                                                                                               Alabama
                                                                                                               Louisiana
                                                                                                               APC & MOEX




5
 Listed on Transocean’s “Event Track.”
6
 Listed on Transocean’s “5th Amendment Track.”
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                                        MASTER LIST OF PRIORITY DEPONENTS
No.         Name                                 Employer    Title/Position               Location   No. of   Party Requesting
                                                                                                     Days
17.         Inglis, Andy                         BP E&P      Former CEO of Exploration UK                     PSC
                                                             and Production                                   USA
                                                                                                              Alabama
                                                                                                              APC & MOEX
18.         Kaluza, Robert                       BP          Well Site Leader             Nevada              PSC
                                                             (On Rig)                                         USA
                                                                                                              Alabama
                                                                                                              Louisiana
                                                                                                              Halliburton
                                                                                                              APC & MOEX
                                                                                                              Transocean7
19.         LeBleu, John                         BP          Mud Specialist                                   PSC
                                                                                                              USA
                                                                                                              Alabama
                                                                                                              APC & MOEX
20.         Lynch, Richard                       BP          Vice President of Drilling   Houston             PSC
                                                             and Completions                                  USA
                                                                                                              Alabama
                                                                                                              APC & MOEX
21.         Mogford, John                        BP          Global Head of Safety &                          PSC
                                                             Operations (S&O)                                 USA
                                                                                                              Alabama
                                                                                                              Louisiana
                                                                                                              APC & MOEX




7
 Listed on Transocean’s “5th Amendment Track.”
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                                        MASTER LIST OF PRIORITY DEPONENTS
No.         Name                                 Employer    Title/Position              Location   No. of   Party Requesting
                                                                                                    Days
22.         Morel, Brian                         BP          Drilling Engineer           Houston             PSC
                                                                                                             USA
                                                                                                             Alabama
                                                                                                             Louisiana
                                                                                                             Halliburton
                                                                                                             APC & MOEX
                                                                                                             Transocean8
23.         O'Bryan, Patrick                     BP          Vice President, Drilling and Houston            PSC
                                                             Completions                                     USA
                                                             (On Rig)                                        Alabama
                                                                                                             Louisiana
                                                                                                             Halliburton
                                                                                                             APC & MOEX
                                                                                                             Transocean9
24.         Rainey, David                        BP          Vice President – Gulf of    Houston             PSC
                                                             Mexico Exploration                              USA
                                                                                                             Alabama
                                                                                                             APC & MOEX
25.         Rich, David                          BP          Wells Manager               Houston             PSC
                                                                                                             USA
                                                                                                             Alabama
                                                                                                             APC & MOEX




8
 Listed on Transocean’s “5th Amendment Track.”
9
 Listed on Transocean’s “Event Track.”
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                                           MASTER LIST OF PRIORITY DEPONENTS
No.          Name                            Employer         Title/Position               Location    No. of   Party Requesting
                                                                                                       Days
26.          Sepulvado, Ronald               BP               Well Site Leader             Louisiana            PSC
                                                                                                                USA
                                                                                                                Alabama
                                                                                                                Louisiana
                                                                                                                Halliburton
                                                                                                                APC & MOEX
                                                                                                                Transocean10
27.          Sims, David                     BP               Wells Operation Manager      Houston              PSC
                                                              for E&A                                           USA
                                                              (On Rig)                                          Alabama
                                                                                                                Louisiana
                                                                                                                Halliburton
                                                                                                                APC & MOEX
                                                                                                                Transocean11
28.          Skelton, Cindy                  BP               Vice President of            Houston              PSC
                                                              Engineering and HSE                               USA
                                                                                                                Alabama
                                                                                                                Louisiana
                                                                                                                APC & MOEX
29.          Skidmore, Ross                  BP E&P           Subsea Well Supervisor for                        Louisiana
                                                              Macondo Well                                      Halliburton
30.          Sprague, Jonathan               BP               Drilling Engineering         Houston              PSC
                                                              Manager                                           USA
                                                                                                                Alabama
                                                                                                                Louisiana
                                                                                                                APC & MOEX
                                                                                                                Transocean12
10
   Listed on Transocean’s “Event Track.”
11
   Listed on Transocean’s “Event Track.”
12
   Listed on Transocean’s “Event Track.”
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                                       MASTER LIST OF PRIORITY DEPONENTS
No.         Name                             Employer               Title/Position             Location    No. of   Party Requesting
                                                                                                           Days
31.         Suttles, Doug                    BP plc                 Current CEO of BP          Houston              PSC
                                                                                                                    USA
                                                                                                                    Alabama
                                                                                                                    APC & MOEX
32.         Thierens, Henry "Harry"          BP                     Wells Director             UK                   PSC
                                                                                                                    USA
                                                                                                                    Alabama
                                                                                                                    Louisiana
                                                                                                                    APC & MOEX
33.         Tink, Richard S.                     BP America, Inc.   HSE Team Leader for                             Louisiana
                                                                    Drilling & Completions
                                                                    GoM
34.         Tooms, Paul                      BP                     Vice President of          UK                   PSC
                                                                    Engineering, Global Head                        USA
                                                                    of Subsea Discipline                            Alabama
                                                                                                                    APC & MOEX
35.         Unknown                          BP                     Corporate Representative                        PSC
            30(b)(6)                                                                                                USA
                                                                                                                    Alabama
                                                                                                                    APC & MOEX
36.         Vidrine, Donald                  BP                     Well Site Leader           Louisiana            PSC
                                                                    (On Rig)                                        USA
                                                                                                                    Alabama
                                                                                                                    Louisiana
                                                                                                                    Halliburton
                                                                                                                    APC & MOEX
                                                                                                                    Transocean13



13
 Listed on Transocean’s “5th Amendment Track.”
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                                         MASTER LIST OF PRIORITY DEPONENTS
No.          Name                               Employer               Title/Position               Location   No. of   Party Requesting
                                                                                                               Days
37.          Wall, David                        BP                     Head of Process Safety                           Louisiana
                                                                       Team on BP accident                              Transocean14
                                                                       investigation
38.          Walz, Gregory                      BP                     Drilling Engineer Team       Houston             PSC
                                                                       Leader                                           USA
                                                                                                                        Alabama
                                                                                                                        Louisiana
                                                                                                                        Halliburton
                                                                                                                        APC & MOEX
                                                                                                                        Transocean15
39.          Wells, Kent                        BP                     Senior Vice President for    Houston             PSC
                                                                       Exploration and Production                       USA
                                                                                                                        Alabama
                                                                                                                        APC & MOEX
40.          Wong, Norman                       BP, plc                Rig Auditing on BP                               Louisiana
                                                                       accident investigation
41.          Unknown                            Cobalt International   Corporate Representative                         PSC
             30(b)(6)                           Energy                                                                  USA
                                                                                                                        Alabama
                                                                                                                        APC & MOEX
42.          Brown, David                       CSI                                                                     PSC
                                                                                                                        USA
                                                                                                                        Alabama
                                                                                                                        APC & MOEX




14
 Listed on Transocean’s “Bly Investigation Track.”
15
 Listed on Transocean’s “Event Track.”
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                                             MASTER LIST OF PRIORITY DEPONENTS
No.           Name                                   Employer                       Title/Position                        Location                No. of       Party Requesting
                                                                                                                                                  Days
43.           Chaisson, Nathaniel                    Halliburton                    Cementer on Macondo                   Domestic                             Louisiana
                                                                                    Well                                                                       BP
44.           Gagliano, Jesse                        Halliburton                    Deepwater Tenet Manager               Domestic                             PSC
                                                                                    (Manager, Technical                                                        USA
                                                                                    Professional – Technology)                                                 Alabama
                                                                                                                                                               Louisiana
                                                                                                                                                               BP16
                                                                                                                                                               APC & MOEX
                                                                                                                                                               Transocean17
45.           Keith, Joseph                          Halliburton                    Lead Surface Data Logger              Domestic                             PSC
                                                                                                                                                               USA
                                                                                                                                                               Alabama
                                                                                                                                                               BP
                                                                                                                                                               APC & MOEX
                                                                                                                                                               Transocean18
46.           Vargo, Richard                         Halliburton                    GoM PSL Cementing                     Domestic                             Louisiana
                                                                                    Manager                                                                    BP
47.           Alderr, Hayyan                         Kongsberg                      Engineer                                                                   PSC
                                                                                                                                                               USA
                                                                                                                                                               Alabama
                                                                                                                                                               APC & MOEX
48.           Johnson, Ronald                        Kongsberg                      Technician                                                                 PSC
                                                                                                                                                               USA
                                                                                                                                                               Alabama
                                                                                                                                                               APC & MOEX

16
   In the BP Parties’ List of Potential Priority Deponents, the BP Parties included the following disclosure: “The BP Parties submit this list as a preliminary, non-binding and
without prejudice list of potential deponents for the discovery period leading to the February 2012 Limitation Action and liability trial. This list is subject to change. This list is
also submitted subject to and without waiver of any and all appropriate objections to discovery directed at the BP Parties.”
17
   Listed on Transocean’s “Event Track.”
18
   Listed on Transocean’s “Event Track.”
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                                     MASTER LIST OF PRIORITY DEPONENTS
No.         Name                         Employer               Title/Position               Location   No. of   Party Requesting
                                                                                                        Days
49.         Unknown                      Kongsberg              Corporate Representative                         PSC
            30(b)(6)                                                                                             USA
                                                                                                                 Alabama
                                                                                                                 APC & MOEX
50.         Martinez, Victor             ModuSpec                                                                PSC
                                                                                                                 USA
                                                                                                                 Alabama
                                                                                                                 APC & MOEX
51.         Schneider, Alan              ModuSpec                                                                PSC
                                                                                                                 USA
                                                                                                                 Alabama
                                                                                                                 APC & MOEX
                                                                                                                 BP
52.         Unknown                      MOEX                   Corporate Representative                         PSC
            30(b)(6)                                                                                             USA
                                                                                                                 Alabama
                                                                                                                 APC & MOEX
53.         Unknown                      Oceaneering            Corporate Representative                         PSC
            30(b)(6)                                                                                             USA
                                                                                                                 Alabama
                                                                                                                 APC & MOEX
54.         Unknown                      Randy Smith Training   Corporate Representative                         PSC
            30(b)(6)                     Solutions                                                               USA
                                                                                                                 Alabama
                                                                                                                 APC & MOEX
55.         Lacy, Kevin                  Talisman Energy        Senior Vice President,                           PSC
                                         (Former BP             Global Drilling &                                USA
                                         Employee)              Completions (BP’s Former                         Alabama
                                                                Senior Vice President for                        APC & MOEX
                                                                Drilling Operations in the
                                                                GOM)
MASTER LIST OF PRIORITY DEPONENTS                               PAGE 10 of 22                                         2/17/2011

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                                    MASTER LIST OF PRIORITY DEPONENTS
No.         Name                        Employer            Title/Position              Location   No. of   Party Requesting
                                                                                                   Days
56.         Canducci, Jerry             Transocean          QHSE Manager/ISM                                PSC
                                                            Manager                                         USA
                                                                                                            Alabama
                                                                                                            Louisiana
                                                                                                            BP
                                                                                                            APC & MOEX
57.         Fleytas, Andrea             Transocean          Dynamic Positioning                             PSC
                                                            Operator                                        USA
                                                            (On Rig)                                        Alabama
                                                                                                            APC & MOEX
                                                                                                            BP
58.         Harrell, Jimmy Wayne        Transocean          Offshore Installation                           PSC
                                                            Manager                                         USA
                                                            (On Rig)                                        Alabama
                                                                                                            Louisiana
                                                                                                            Halliburton
                                                                                                            BP
                                                                                                            APC & MOEX
59.         Johnson, Paul               Transocean          Rig Manager –                                   Louisiana
                                                            Performance                                     BP
60.         Kent, James                 Transocean          Rig Manager – Assets                            Louisiana
61.         Kuchta, Curt                Transocean          Master of Deepwater                             Louisiana
                                                            Horizon                                         Halliburton
                                                                                                            BP
62.         Long, Bob                   Transocean          Chief Executive Officer                         Louisiana
63.         MacDonald, John             Transocean          Manager AMU Marine                              Louisiana
                                                            Operations
64.         McKechnie, Bob              Transocean          Director Upgrade Projects                       Louisiana
65.         McMahan, Larry              Transocean          VP Performance                                  Louisiana


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                                    MASTER LIST OF PRIORITY DEPONENTS
No.         Name                        Employer            Title/Position             Location   No. of   Party Requesting
                                                                                                  Days
66.         Moore, Jimmy                Transocean          Director of QHSE, Former                       Louisiana
                                                            Director of Projects
67.         Ness, Chris                 Transocean          Manager N&S America                            Louisiana
                                                            Unit (AMU)
68.         Newman, Steven              Transocean          Chief Operating Officer                        Louisiana
69.         Polhamus, Mac               Transocean          Manager North America                          Louisiana
                                                            Division
70.         Rose, Adrian P.             Transocean          Former VP QHSE                                 PSC
                                                                                                           USA
                                                                                                           Alabama
                                                                                                           Louisiana
                                                                                                           APC & MOEX
71.         Saltiel, Robert             Transocean          Exec. VP Performance                           Louisiana
72.         Smith, N. Pharr             Transocean          Former VP Engineering &                        Louisiana
                                                            Technical Services
73.         Stringfellow, William       Transocean          Subsea Superintendent                          PSC
                                                                                                           USA
                                                                                                           Alabama
                                                                                                           Louisiana
                                                                                                           APC & MOEX
                                                                                                           BP
74.         Tonnel, David               Transocean          VP Integration Process                         Louisiana
                                                            Management
75.         Trahan, Buddy               Transocean          Operations Manager –                           Louisiana
                                                            Assets
76.         Tranter, Paul               Transocean          VP Assets Floater                              Louisiana
77.         Unknown                     Transocean          Corporate Representative                       PSC
            30(b)(6)                                                                                       USA
                                                                                                           Alabama
                                                                                                           APC & MOEX

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                                    MASTER LIST OF PRIORITY DEPONENTS
No.         Name                       Employer             Title/Position             Location   No. of   Party Requesting
                                                                                                  Days
78.         Weaver, Warren             Transocean           Manager of Regulatory                          Louisiana
                                                            Compliance
79.         Winslow, Daun              Transocean           Operations Manager                             PSC
                                                            (On Rig)                                       USA
                                                                                                           Alabama
                                                                                                           BP
                                                                                                           APC & MOEX
80.         Wright, Mike               Transocean           Division Manager –                             Louisiana
                                                            Performance
81.         Young, David               Transocean           Chief Mate on Deepwater                        Louisiana
                                                            Horizon
82.         Unknown                    Unknown              Post Spill Well                                PSC
                                                            Control/Containment                            USA
                                                                                                           Alabama
                                                                                                           APC & MOEX
83.         Unknown                    Unknown              Post Spill Well                                PSC
                                                            Control/Containment                            USA
                                                                                                           Alabama
                                                                                                           APC & MOEX
84.         John, Lance                Weatherford        Rig System Specialist on                         Louisiana
                                                          Macondo Well
                                                  ALL OTHER PRIORITY REQUESTS
85.         Unknown                    Add Energy         Corporate Representative                         APC & MOEX
            30(b)(6)
86.         Unknown                    Baker Risk           Corporate Representative                       APC & MOEX
            30(b)(6)
87.         Crone, Timothy                                  Non-Government                                 BP
                                                            Researcher
88.         Haynie, William M.         American Bureau of   ABS Surveyor                                   BP
                                       Shipping

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                                           MASTER LIST OF PRIORITY DEPONENTS
No.          Name                                 Employer       Title/Position               Location   No. of   Party Requesting
                                                                                                         Days
89.          Chandler, Paul                       Anadarko       Project Geological Advisor                       BP
90.          Hollek, Darrell                      Anadarko       VP, Operations                                   BP
91.          Huch, Nick                           Anadarko       Land / Drilling Engineer                         BP
92.          Quitzau, Robert                      Anadarko       Contract Drilling Engineer                       BP
93.          Albers, Shane                        BP             Sub Sea Project                                  Halliburton
94.          Breazeale, Martin                    BP                                                              Transocean19
95.          Cowie, Jim                           BP                                                              Transocean20
96.          Cowlam, Gill                         BP             Process Safety                                   APC & MOEX
                                                                                                                  Transocean21
97.          Lambert, Lee                         BP                                                              Transocean22
98.          Lee, Earl                            BP                                                              Transocean23
99.          Lee, Phillip                         BP                                                              Transocean24
100.         McCarrol, John                       BP                                                              Transocean25
101.         Price, Vincent                       BP                                                              Transocean26
102.         Sepulvado, Murry                     BP             Well Site Leader                                 Halliburton
                                                                                                                  Transocean27
103.         Unknown                              BP E&P, Inc.   Corporate Representative                         Halliburton
             30(b)(6)
104.         Erwin, Carter                        Cameron        Account Manager                                  BP
105.         LeNormand, William                   Cameron                                                         BP

19
   Listed on Transocean’s “Event Track.”
20
   Listed on Transocean’s “Bly Investigation Track.”
21
   Listed on Transocean’s “Bly Investigation Track.”
22
   Listed on Transocean’s “Event Track.”
23
   Listed on Transocean’s “Event Track.”
24
   Listed on Transocean’s “Event Track.”
25
   Listed on Transocean’s “Bly Investigation Track.”
26
   Listed on Transocean’s “Event Track.”
27
   Listed on Transocean’s “Event Track.”
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                                         MASTER LIST OF PRIORITY DEPONENTS
No.         Name                           Employer               Title/Position                 Location   No. of   Party Requesting
                                                                                                            Days
106.        McWhorter, David               Cameron                Vice President of Drilling                         BP
                                                                  Systems Engineering and
                                                                  Quality
107.        Whitby, Melvyn F.              Cameron                Director of Technology,                            BP
                                                                  Drilling Systems
108.        Sabins, Fred                   CSI Laboratories                                                          Halliburton
109.        Unknown                        CSI Technologies       Corporate Representative                           APC & MOEX
            30(b)(6)
110.        McKay, David                   DNV                    Marine Surveyor                                    BP
111.        Unknown                        Det Norske Veritas     Corporate Representative                           APC & MOEX
            30(b)(6)
112.        Unknown                        Dril-Quip, Inc.        Corporate Representative                           Halliburton
            30(b)(6)
113.        Campbell, Pat                  EVP                                                                       BP
114.        Dupriest, Fred                 Exxon Mobil            Sr. Global Drilling Advisor                        BP
115.        Gisclair, John                 Halliburton            Inside Support Service         Domestic            BP
                                                                  Coordinator for Gulf of
                                                                  Mexico
116.        Gray, Kelly                    Halliburton / Sperry   Engineer / Insite Specialist   Domestic            BP
117.        Haire, Christopher             Halliburton            Service Supervisor /           Domestic            BP
                                                                  Cementer                                           Transocean28
118.        Probert, Tim                   Halliburton            Chief Safety Officer           Domestic            BP
119.        Quirk, Tim                     Halliburton            Land Manager                   Domestic            BP
                                                                  Investigation




28
 Listed on Transocean’s “Event Track.”
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                                         MASTER LIST OF PRIORITY DEPONENTS
No.         Name                           Employer             Title/Position               Location   No. of   Party Requesting
                                                                                                        Days
120.        Ravi, Dr. Kris                 Halliburton          Chief Technical              Domestic            BP
                                                                Professional (Chief
                                                                Technical Advisor –
                                                                Engineering / Petro-
                                                                physical Applications)
121.        Roth, Tommy                    Halliburton          Vice President               Domestic            BP
122.        Tabler, Vincent                Halliburton                                       Domestic            Transocean29
123.        Unknown                        Halliburton          Halliburton Accident         Domestic            BP
                                                                investigation manager
                                                                including discussion of
                                                                prior cement failures
124.        Unknown                        Halliburton          Lab technicians that         Domestic            BP
                                                                performed tests on
                                                                Macondo cement slurry
125.        Willis, Cathleenia             Halliburton          Surface Data Logger          Domestic            BP
                                                                                                                 APC & MOEX
                                                                                                                 Transocean30
126.        Unknown                        Halliburton Energy   Corporate Representative     Domestic            APC & MOEX
            30(b)(6)                       Services, Inc.
127.        Adams, Neal                    Independent          Petroleum Engineer                               BP
                                           Consultant
128.        Bourgoyne, Darryl              Louisiana State      Instructor, Crawt &                              BP
                                           University           Hawkins Dept. of
                                                                Petroleum Engineering
129.        Tyagi, Mayank                  Louisiana State      Assistant Professor, Crawt                       BP
                                           University           & Hawkins Dept. of
                                                                Petroleum Engineering

29
 Listed on Transocean’s “Event Track.”
30
 Listed on Transocean’s “Event Track.”
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                                     MASTER LIST OF PRIORITY DEPONENTS
No.         Name                         Employer            Title/Position                Location   No. of   Party Requesting
                                                                                                      Days
130.        Lindner, Leo                 M-I Swaco           Mud Engineer / Drilling                           Halliburton
                                                             Fluid Specialist                                  BP
131.        Smith, JR                    MI-Swaco            M-I Swaco Project                                 BP
                                                             Engineer
132.        Unknown                      M-I Swaco           Witness on protocols and                          Halliburton
            30(b)(6)                                         procedures for the
                                                             development and design of
                                                             spacers, including spacers
                                                             used for displacement for
                                                             wells in the Gulf of Mexico
133.        Patton, Frank Keith          MMS                 New Orleans District                              BP
                                                             Drilling Engineer
134.        Saucier, Michael             MMS                 Regional Supervisor, GoM                          BP
                                                             Field Ops
135.        Milsap, Kris                 ModuSpec            Surveyor                                          BP
136.        Naito, Shinjiro              MOEX                Senior Manager, Geologist                         BP
                                                             / Unit General Manager,
                                                             Unit 2, MOECO
137.        Yamamoto, Kyoko              MOEX                                                                  BP
138.        Unknown                      Nexen Inc.          Corporate Representative                          APC & MOEX
            30(b)(6)
139.        Kritzer, Joshua              OCS                 Tank Cleaner                                      Halliburton
140.        Lambert, Heath               OCS                 Tank Cleaner                                      Halliburton
141.        Paine, Kate                  Quadril Energy      Well Site Analyst                                 APC & MOEX
142.        Hartmann, Robin              Shell                                                                 BP




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                                          MASTER LIST OF PRIORITY DEPONENTS
No.          Name                                Employer             Title/Position                 Location   No. of   Party Requesting
                                                                                                                Days
143.         Williams, Charlie                   Shell                Chief Scientist, Well                              BP
                                                                      Engineering & Production
                                                                      Technology
144.         Unknown                             Sperry               Witness regarding the          Domestic            Transocean31
             30(b)(6)                                                 location and retention of
                                                                      Insite computer database
                                                                      records
145.         Unknown                             Stress Engineering   Corporate Representative                           APC & MOEX
             30(b)(6)
146.         Cargol, Mike                        Subsea               Project Manager                                    BP
147.         Ambrose, Bill                       Transocean           Director of Special Projects                       BP
148.         Bertone, Stephen Ray                Transocean           Chief Engineer /                                   Halliburton
                                                                      Maintenance Supervisor                             BP
149.         Breland, Craig                      Transocean           Crane Operator                                     Halliburton
150.         Brown, Douglas Harold               Transocean           Chief Mechanic                                     Halliburton
                                                                      (On Rig)                                           BP
151.         Burgess, Micah Brandon              Transocean           Driller                                            Halliburton
                                                                      (On Rig)                                           BP
152.         Ezell, Miles Randall                Transocean           Senior Toolpusher                                  Halliburton
                                                                                                                         BP
153.         Hay, Mark David                     Transocean           Senior Subsea Supervisor                           Halliburton
                                                                                                                         BP
154.         Holloway, Caleb                     Transocean           Floorhand                                          BP
                                                                      (On Rig)
155.         Ingram, James                       Transocean           PI Plaintiff Represented by                        Transocean32
                                                                      Kurt Arnold


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 Listed on Transocean’s “Event Track.”
32
 Listed on Transocean’s “Plaintiff P/I Track.”
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                                            MASTER LIST OF PRIORITY DEPONENTS
No.          Name                                  Employer              Title/Position                Location   No. of   Party Requesting
                                                                                                                  Days
156.         Johnson, Bill                         Transocean            PI Plaintiff Represented by                       Transocean33
                                                                         Kurt Arnold
157.         Johnson, Dustin                       Transocean            PI Plaintiff Represented by                       Transocean34
                                                                         Kurt Arnold
158.         McWhorter, Jim Owen                   Transocean            Subsea Supervisor                                 BP
159.         Meinhart, Paul                        Transocean            PI Plaintiff Represented by                       Transocean35
                                                                         Kurt Arnold
160.         Morgan, Patrick                       Transocean            Assistant Driller                                 Halliburton
161.         Pleasant, Christopher                 Transocean            Subsea Supervisor                                 Halliburton
             Bernard                                                                                                       BP
162.         Sandell, Micah                        Transocean            Crane Operator                                    Halliburton
163.         Seriale, Allen                        Transocean            Assistant Driller                                 Halliburton
164.         Taylor, Carl                          Transocean            PI Plaintiff Represented by                       Transocean36
                                                                         Kurt Arnold
165.         Watson, Nick                          Transocean            PI Plaintiff Represented by                       Transocean37
                                                                         Kurt Arnold
166.         Wheeler, Wyman                        Transocean            Toolpusher                                        BP
                                                                         (On Rig)
167.         Williams, Michael                     Transocean            Chief Electronics                                 BP
                                                                         Technician
168.         Unknown                               Transocean            Corporate Representative                          Halliburton
             30(b)(6)                              Deepwater, Inc.
169.         Unknown                               Transocean Holdings   Corporate Representative                          Halliburton
             30(b)(6)                              LLC

33
   Listed on Transocean’s “Plaintiff P/I Track.”
34
   Listed on Transocean’s “Plaintiff P/I Track.”
35
   Listed on Transocean’s “Plaintiff P/I Track.”
36
   Listed on Transocean’s “Plaintiff P/I Track.”
37
   Listed on Transocean’s “Plaintiff P/I Track.”
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                                     MASTER LIST OF PRIORITY DEPONENTS
No.         Name                         Employer               Title/Position             Location   No. of   Party Requesting
                                                                                                      Days
170.        Unknown                      Transocean Offshore    Corporate Representative                       Halliburton
            30(b)(6)                     Deepwater Drilling,
                                         Inc.
171.        Unknown                      Triton Asset Leasing   Corporate Representative                       Halliburton
            30(b)(6)                     GmBH
172.        Birnbaum, Elizabeth          U.S. Government        Director, MMS, DOI (July                       BP
                                                                2009 – May 2010) – Post
                                                                Incident Response
173.        Bromwich, Michael            U.S. Government        Director, BOEMRE, DOI                          BP
                                                                (June 2010 to present) –
                                                                Post Incident Response
174.        Browner, Carol               U.S. Government        Director, White House                          BP
                                                                Office of Energy and
                                                                Climate Change Policy
175.        Camilli, Richard             U.S. Government        Post-Incident Response                         BP
176.        Chu, Steven                  U.S. Department of     Secretary of Energy                            BP
                                         Energy
177.        Dykhuizen, Ronald C.         U.S. Government        Engineer – Fluid and                           BP
                                                                Thermal Sciences SNL –
                                                                Post Incident Response
178.        Garwin, Richard Lawrence     U.S. Government        IBM Fellow (emeritus) –                        BP
                                                                Post Incident Response
179.        Gautier, Captain Peter W.    U.S. Government        Commanding Officer,                            BP
                                                                Coast Guard Gulf Strike
                                                                Team, Mobile, Alabama –
                                                                Post Incident Response
180.        Hayes, David                 U.S. Department of     Deputy Secretary of the                        BP
                                         the Interior           Interior



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                                    MASTER LIST OF PRIORITY DEPONENTS
No.         Name                       Employer             Title/Position                Location   No. of   Party Requesting
                                                                                                     Days
181.        Herbst, Lars               U.S. Government      Regional Director for the                         BP
                                                            Gulf of Mexico Region,
                                                            BOEMRE – Post Incident
                                                            Response
182.        Hunter, Tom                U.S. Government      Former Sandia Laboratory                          BP
                                                            Director – Post Incident
                                                            Response
183.        Jackson, Lisa              U.S. Government      Administrator, EPA – Post                         BP
                                                            Incident Response
184.        Landry, Mary               U.S. Government      Rear Admiral, USCG,                               BP
                                                            Federal On-Scene
                                                            Coordinator (FOSC) (April
                                                            22, 2010 to June 1, 2010) –
                                                            Post Incident Response
185.        Lehr, Bill                 U.S. Government      Post Incident Response                            BP
186.        Salazar, Ken               U.S. Department of   Secretary of the Interior                         BP
                                       the Interior
187.        Shepard, Mark              U.S. Government      U.S. Coast Guard                                  BP
                                                            Operations Section Chief
                                                            Lt. Commander – Post
                                                            Incident Response
188.        Watson, James A.           U.S. Government      Rear Admiral, USCG,                               BP
                                                            FOSC – Post Incident
                                                            Response
189.        Wereley, Steve             U.S. Government      Associate Professor of                            BP
                                                            Mechanical Engineering,
                                                            Purdue University – Post
                                                            Incident Response
190.        McNutt, Marcia             United States        Director                                          BP
                                       Geological Survey

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                                    MASTER LIST OF PRIORITY DEPONENTS
No.         Name                       Employer            Title/Position                 Location   No. of   Party Requesting
                                                                                                     Days
191.        Allen, Thad                USCG                Admiral, National Incident                         BP
                                                           Commander
192.        Unknown                    Vector Magnetics    Corporate Representative                           Halliburton
            30(b)(6)                   LLC
193.        Clawson, Bryan R.          Weatherford         Cementation Sales                                  Halliburton
                                                                                                              BP
194.        Oldfather, Daniel          Weatherford         Service Operator                                   Halliburton
195.        Unknown                    Weatherford         Corporate Representative                           APC & MOEX
            30(b)(6)
196.        Unknown                    Weatherford         Witness regarding technical                        Halliburton
            30(b)(6)                                       specifications of
                                                           Weatherford float collar
                                                           assembly
197.        Unknown                    Weatherford         Witness regarding issues,                          Halliburton
            30(b)(6)                                       problems or defects relating
                                                           to Weatherford float collar
                                                           assembly, including
                                                           specific incidents relating
                                                           thereto




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